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@ Print your name and address on the reverse

so that we can return the card to you. C1 Addressee

   

 

 

 

- @ Attach this card to the back of the mailpiece, speee by fe C. Date of Delivery
or on the front if space permits. aa
1. Article Addressed to: D. Is delivery see en from item 1? C1 Yes

If YES, enter delivery address below: 1 No

TROY _ ANTHONY SMOCKS
1704 Pine Hills Lane
Corinth, TX 76210

 

 

 

 

 

3. Service Type 0 Priority Mail Express®
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PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt;
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— Complete items 1, 2, and 3. A. Signature :
@ Print your name and address on the reverse x Lif le 2b. CO Agent

so that we can return the card to you. f~$—) a Addressee
® Attach this card to the back of the mailpiece, B. Received by (Printed Name C. Date of Delivery

or on the front if space permits.

 

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1. Article Addressed to: D. Is delivery address different from item 1? 0 Yes
If YES, enter delivery address below: OO No
Mark J. Lieberman
1704 Pine Hills Lane laine
Corinth, TX 76210 WE
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